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EXHIBIT 3A

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Case 06-10725-gwz

%0°001 %e0 %tb"0 VLE Ye v %b'e6 Ly'0L2e $ | 89°0 $ O£°0 $ Les $ Of LL $ 06692 $ yeqol
%0"00L %0°0 %0°0 %0°O %0'0 %0° 001 Lvs : . - : Lys leioiqns
%0"0OL %0°O %0'0 %0°0 %0°0 %0°00} Lys Lys sasuedxy
%0°001 %E"O %ib-O VE EV %C o6 bo"s9e 89°0 0e°0 Les Oe*Lh er'bre rmeoiqns
%0°00L %0'°0 %0'0 %0°O %0°0 %0°OOL L's] LL’? saTIWWOD s}UuBly syoesUOD Alojndex3
%0°001 %0'0 %0'O %0'0 %0°0 %0°001 cob c0'} SaWWWOD SIOU"PaIH painsssuy)
%0'00L %0'0 %0'0 %0'°0 %0°0 %0°001 sso $80 sueyeyW AoyejnBoy
%0°00L %0'0 %0'0 %0°0 %0°0 %0°001 slo gt'0 sanss| xe
%0'00L %0°O %0'0 %*G' %0'O %F 86 90°¢e ceo elle sBulpsacoig Auesiapy / suonebir]
%0°00L %0'°0 %0°0 %0'0 %0°0 %0°001 68'F 687 Buyoueul4
%0°00L %0°0 %0°0 %0'°0 %0'0 %0'°001 ele ale sasee7] / sjoesjuoD Aloyndexy
%0°00b %0°0 %0°0 %0'0 %0°O %0°001 L9% £9°% suo|suad / syjouag aeXojdwiy
%0°00b %0°0 %0'0 %0°0 %0'°O %0'O0L L6"E L6°L SUuOHoal(qC puke UOIBISUlWIPY SWIE|D
%0'00L %0'0 %0°0 LB %*I Ol %L08 s6"8e 6e°e viP ov le SUOHBOIUNWILUOD/SHUeeW
%0°001 %0'0 %0'0 SI'S SL EL EB Le°se oe't Lye 09°02 suoeaddy juawAojdw5/ee4
%0°001 %0'O %0'0 WOE Ree %9'E6 erst 670 6r'0 vy vl suolyeiadQ sseuisng
%0'00L %0'0 %0°O B'S NOS EVE Z9°ES pol vs hk gg'0s yoreasey pure sisAjeuy jessy
%0°001 %L0 %E'O WP" l Bb %8'S6 se"e6 $ } 39°0 $ oc0 $ LoL $ 19°} $ SP 68 $ UOINeISIUIWPY eseD
ley}OL

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1239Q Burjjig uosaydoW -F JeZHeEMYOS
ebebyoyw jemiewwos ysn
